MANDATE
              CaseCase
                   1:12-cv-05423-LAP Document
                       15-333, Document         226 Filed
                                        44, 03/25/2015,    03/25/15
                                                        1468828,    Page
                                                                 Page1 of 11 of 1

                                                                                  N.Y.S.D. Case #
                                                                                  12-cv-5423(LAP)
                                UNITED STATES COURT OF APPEALS
                                             FOR THE
                                         SECOND CIRCUIT
                            ____________________________________________

              At a Stated Term of the United States Court of Appeals for the Second Circuit, held at
     the Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on
     the 25th day of March, two thousand fifteen,

      ____________________________________

      Audemars Piguet Holding S.A., Audemars , North              ORDER
      America Piguet, Inc.                                        Docket No. 15-333(L)
                                                                             15-338(XAP)
      llllllllllllllllllllPlaintiffs - Counter-Defendants -
      Appellants - Cross-Appellees,
                                                                    USDC SDNY
      v.
                                                                    DOCUMENT
      Swiss Watch International, Inc., DBA Swiss Legend,            ELECTRONICALLY FILED
      DBA SWI Group, ILS Holdings, LLC, DBA                         DOC #:   _________________
      Worldofwatches.com, Lior Ben-Shmuel,                                       March 25, 2015
                                                                    DATE FILED: ______________
      l
      llllllllllllllllDefendants - Counter-Claimants -
      Counter-Defendants - Appellees - Cross-Appellants..
      _______________________________________

            The parties in the above-referenced case have filed a stipulation withdrawing this appeal
     pursuant to FRAP 42.

             The stipulation is hereby "So Ordered".




                                                              For The Court:
                                                              Catherine O'Hagan Wolfe,
                                                              Clerk of Court




MANDATE ISSUED ON 03/25/2015
